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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     TAMMIE D. B.,                     ) NO. EDCV 20-1692-KS
11                                     )
                      Plaintiff,
12           v.                        )
                                       ) JUDGMENT
13                                     )
     KILOLO KIJAKAZI, Acting           )
14
     Commissioner of Social Security,  )
15                     Defendant.      )
16   _________________________________ )
17
18         Pursuant to the Court’s Memorandum Opinion and Order, IT IS ADJUDGED that the
19   decision of the Commissioner of the Social Security Administration is affirmed and the above-
20   captioned action is dismissed with prejudice.
21
22   DATE: November 1, 2021
23                                                    __________________________________
24                                                          KAREN L. STEVENSON
                                                     UNITED STATES MAGISTRATE JUDGE
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